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 1                      UNITED STATES DISTRICT COURT

 2                     CENTRAL DISTRICT OF CALIFORNIA

 3                              WESTERN DIVISION

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 5         HONORABLE VALERIE BAKER FAIRBANK, JUDGE PRESIDING

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 7

 8    UNITED STATES OF AMERICA,          )
                                         )
 9                     Plaintiff,        )
                                         )
10                                       )
            vs.                          ) NO:    CR 07-1049-VBF
11                                       )
                                         )
12    KENNETH BERNARD RILEY,             )
                                         )
13                     Defendant.        )
                                         )
14

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16
                   REPORTER'S TRANSCRIPT OF PROCEEDINGS
17                           (CHANGE OF PLEA)

18                          Los Angeles, California

19                          Friday, August 12, 2011

20

21

22                                   KATHERINE M. STRIDE, RPR, CSR
                                     Official Court Reporter
23                                   Roybal Federal Building
                                     255 E. Temple Street, Rm. 181-B
24                                   Los Angeles, California 90012

25                                  (213)894-2187
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 1    APPEARANCES:

 2

 3    In behalf of the Government:

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 6                     Los Angeles, California 90012
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13    In behalf of the Defendant:

14                     LAW OFFICES OF BRIAN A. NEWMAN
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 1        LOS ANGELES, CALIFORNIA; FRIDAY, AUGUST 12, 2011;

 2                                  9:43 A.M.

 3

 4               THE CLERK:      Please remain seated and come to

 5    order.    This United States District Court for the

 6    Central District of California is now in session, the

 7    Honorable Valerie Baker Fairbank, judge residing.

 8               THE COURT:      Good morning.       I would ask the

 9    Clerk to, please, call the next case.

10               THE CLERK:      Calling No. 1, Criminal 07-1049,

11    United States of America versus Kenneth Bernard Riley.

12               Counsel, please state your appearances.

13               MR. LULEJIAN:       Good morning, Your Honor.            John

14    Lulejian for the United States of America.

15               THE COURT:      Mr. Lulejian.

16               MR. NEWMAN:      Good morning, Your Honor.           With

17    deep apologies, Your Honor, for only the second time in

18    32 years, I forgot my coat at home.             I did run by Roybal

19    because a friend of mine was there, and I borrowed a

20    jacket, but he wears a 38 and I wear a 48, and there's

21    no way I could put it on.          I do have it if Your Honor

22    wants me to try to squeeze into it.

23               THE COURT:      There's no problem at all.           I

24    didn't notice.

25               MR. NEWMAN:      I feel totally ashamed.          It has
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 1    just almost never happened.

 2               THE COURT:      No problem.

 3               MR. NEWMAN:      Oh, I'm sorry, Your Honor.           Brian

 4    Newman with Kenneth Riley.          Permission to -- may we do

 5    this sitting down with Mr. Riley.

 6               THE COURT:      Yes, for the reasons previously

 7    stated, Mr. Riley's health condition; is that right;

 8    Mr. Newman?

 9               MR. NEWMAN:      Yes, it is Your Honor.

10               THE COURT:      Any objection, Mr. Lulejian?

11               MR. LULEJIAN:       No, Your Honor.

12               THE COURT:      Mr. Newman, do you and your client

13    have a copy before you of the plea agreement for

14    Defendant Kenneth Bernard Riley?            It is Docket No. 119

15    filed August 4th, 2011.

16               MR. NEWMAN:      We do, Your Honor.

17               THE COURT:      Okay.    Do you also have a copy of

18    the First Superseding Information alleging a violation

19    of 21, U.S.C., 841(a)(1) and (b)(1)(B)(iii),

20    distribution of cocaine base in the form of crack

21    cocaine?

22               MR. NEWMAN:      We do, Your Honor.

23               THE COURT:      I understand Mr. -- Mr. Newman,

24    that your client, Mr. Riley, wants to plead guilty

25    pursuant to the plea agreement, Docket No. 119; is that
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 1    correct?

 2               MR. NEWMAN:      That is correct, Your Honor.

 3               THE COURT:      The agreement will be incorporated

 4    and made a part of this proceeding.

 5               I want to ascertain, Mr. Newman, your client's

 6    competency to proceed, and then I will arraign him on

 7    the First Superseding Information and proceed with the

 8    plea; is that all right?

 9               MR. NEWMAN:      That is fine, Your Honor, yes.

10               THE COURT:      Mr. Riley, before I proceed and

11    accept your plea of guilty to the First Superseding

12    Indictment -- or Information -- I must be sure that you

13    are fully informed of your rights and that you

14    understand your rights and the nature of this

15    proceeding.      I'm going to ask you a series of questions

16    and tell you about certain rights.             If you don't

17    understand one of my questions or any statement that I

18    make, please tell me, and I will stop and make it clear

19    for you.     Also, you may stop me at any time to talk to

20    your lawyer.      Please let me know whenever you want to do

21    that.    Okay.

22               THE DEFENDANT:       Yes, ma'am.

23               THE COURT:      And please also let me know if you

24    have any difficulty hearing me or the attorneys.                 Okay.

25               THE DEFENDANT:       Yes, ma'am.
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 1               THE COURT:      I would -- and you can remain

 2    seated.    I would ask the clerk to administer the oath to

 3    Mr. Riley.

 4               THE CLERK:      Mr. Riley will you please raise

 5    your right hand to the best of your ability.

 6               Do you do solemnly swear that you will make

 7    true answers to such questions that the Court will ask

 8    you regarding your change of plea so help you God?

 9               THE DEFENDANT:       Yes, sir.

10               THE CLERK:      Thank you.

11               THE COURT:      Mr. Riley, do you understand that

12    you are under oath?

13               THE DEFENDANT:       Yes, ma'am.

14               THE COURT:      And that if you answer any of my

15    questions falsely, your answers may later be used

16    against you in another prosecution for perjury for

17    making a false statement?

18               THE DEFENDANT:       Yes, ma'am.

19               THE COURT:      Do you understand that you have the

20    right to remain silent and not to answer any of my

21    questions?

22               THE DEFENDANT:       Yes, ma'am.

23               THE COURT:      Do you give up that right?

24               THE DEFENDANT:       Yes, ma'am.

25               THE COURT:      Does counsel join?
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 1               MR. NEWMAN:      Join, Your Honor.

 2               THE COURT:      Mr. Riley, what is your true and

 3    correct full name?

 4               THE DEFENDANT:       Kenneth Bernard Riley.

 5               THE COURT:      And how old are you, Mr. Riley?

 6               THE DEFENDANT:       49.

 7               THE COURT:      And how many years of school have

 8    you completed?

 9               THE DEFENDANT:       11.

10               THE COURT:      Have you be treated recently for

11    any mental illness or addiction to narcotics of any

12    kind?

13               THE DEFENDANT:       No.

14               THE COURT:      Are you under the influence of any

15    drug, medication, or alcoholic beverage of any kind.

16               MR. NEWMAN:      Your Honor, he has taken his pain

17    medicine as prescribed by his physicians.

18               THE COURT:      I'm asking these questions, of

19    course, to determine whether Mr. Riley is in possession

20    of his faculties and is competent to proceed.

21               Does the medication, the pain medication you're

22    taking, affect your ability to understand these

23    proceedings?

24               THE DEFENDANT:       No, ma'am.

25               THE COURT:      Do you or Mr. Newman know what
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 1    medication you're taking?

 2               THE DEFENDANT:       Yes, ma'am.

 3               THE COURT:      Can you tell us.

 4               THE DEFENDANT:       Oxycontin.

 5               THE COURT:      Oxycontin, and when did you take

 6    that?

 7               THE DEFENDANT:       This morning; every morning and

 8    every night.

 9               THE COURT:      And does it have any affect on

10    your -- your competency, your ability to understand the

11    proceedings to make decisions?

12               THE DEFENDANT:       No, ma'am.

13               THE COURT:      Okay.    Any other medication?

14               THE DEFENDANT:       No, ma'am.

15               THE COURT:      Have you had any -- other than the

16    Oxycontin, have you had any other drugs or alcohol

17    within the last three days?

18               THE DEFENDANT:       No, ma'am.

19               THE COURT:      For the record, do you know how

20    much Oxycontin you take in the night and the morning?

21               THE DEFENDANT:       20 milligrams each.         So that's

22    a total of 40.

23               THE COURT:      When you take that, are you placed

24    on any limitations?        For example, if you weren't in

25    custody, will you be precluded from driving if you know?
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 1               THE DEFENDANT:       Probably so.

 2               THE COURT:      But you would be able to engage in

 3    other activities, mental activities?

 4               THE DEFENDANT:       Probably so.

 5               THE COURT:      Will you let us know if you have

 6    any difficulty understanding these proceedings or what

 7    I'm saying?

 8               THE DEFENDANT:       Yes, ma'am.

 9               THE COURT:      Do you -- in other words, do you

10    suffer from any mental condition or disability from

11    fully understand will charges against you or the

12    consequences of your guilty plea?

13               THE DEFENDANT:       No, ma'am.

14               THE COURT:      Is there any reason we should not

15    go forward today?

16               THE DEFENDANT:       No, ma'am.

17               THE COURT:      Mr. Newman, have you talked to your

18    client today about these proceedings?

19               MR. NEWMAN:      I have, Your Honor.

20               THE COURT:      Do you have any reason to believe

21    that your client should not go forward with this plea

22    today?

23               MR. NEWMAN:      None, Your Honor.

24               THE COURT:      Do you believe he is in possession

25    of his faculties and is competent to proceed?
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 1                MR. NEWMAN:      I do, Your Honor.

 2                THE COURT:      Based upon the statements of the

 3    Defendant and his counsel and my own observations, I

 4    find that Mr. Riley is in full possession of his

 5    faculties and is competent to proceed.

 6                Mr. Riley, you are charged in a First

 7    Superseding Information with a violation of Title 21,

 8    United States Code Section 841(a)(1) and (b)(1)(B)(iii).

 9                Do you have a copy of the First Superseding

10    Indictment before you?

11                THE DEFENDANT:       Yes, ma'am.

12                THE COURT:      Have you had time to read the First

13    Superseding Information?

14                THE DEFENDANT:       Yes, ma'am.

15                THE COURT:      Have you had enough time to consult

16    with your attorney about this information?

17                THE DEFENDANT:       Yes, ma'am.

18                THE COURT:      The Information reads that on or

19    about September 17th, 2005, in Los Angeles County,

20    within the Central District of California,

21    Defendant Kenneth Bernard Riley, also known as "Kenny

22    Boy," knowingly and intentionally distributed at least

23    28 grams, that is approximately 248.5 grams, of a

24    mixture and substance containing a detectable amount of

25    cocaine base in the form of crack cocaine, a Schedule II
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 1    narcotic drug controlled substance.

 2                Do you understand these charges?

 3                THE DEFENDANT:       Yes, ma'am.

 4                THE COURT:      You have a right, a constitutional

 5    right to be charged by an Indictment issued by a Grand

 6    Jury.    Here, the charges are in an information, a First

 7    Superseding Information.          You -- you can waive the right

 8    to an Indictment and consent to being charged by an

 9    Information filed by the U.S. Attorney.               In this case,

10    the felony charges against you have been brought by the

11    filing of an Information.          Unless you waive Indictment,

12    you may not be charged with a felony unless a Grand Jury

13    finds, by return of an Indictment, that there is

14    probable cause to believe that a crime has been

15    committed and that you committed it.              If you do not

16    waive Indictment, the Government may -- may present the

17    case to the Grand Jury ask that the Grand Jury indict

18    you.    A Grand Jury is composed of at least 16 and not

19    more than 23 persons.         At least 12 Grand Jurors must

20    find that there is probable cause to believe you

21    committed the crime with which you are charged before

22    you may be indicted.         The Grand Jury might or might not

23    Indict you.      If you waive Indictment by the Grand Jury,

24    the case will proceed against you on the U.S. Attorney's

25    Information as though you had been indicted.
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 1                Have you discussed waiving or giving up your

 2    right to an Indictment by the Grand Jury with your

 3    attorney?

 4                THE DEFENDANT:       Yes, ma'am.

 5                THE COURT:      Do you understand your right to

 6    Indictment by a Grand Jury?

 7                THE DEFENDANT:       Yes, ma'am.

 8                THE COURT:      Has anyone made any promises,

 9    representations, or guaranties of any kind in order to

10    get you to waive your right to an Indictment?

11                THE DEFENDANT:       No, ma'am.

12                THE COURT:      Has anyone attempted in any way to

13    threaten you, your family, or anyone close to you to

14    force you to waive your right to an Indictment?

15                THE DEFENDANT:       No, ma'am.

16                THE COURT:      Do you want to waive and give up

17    your right to Indictment by a Grand Jury?

18                THE DEFENDANT:       Yes, ma'am.

19                THE COURT:      I'd ask your attorney, Mr. Newman,

20    have you discussed with your client his right to be

21    charged by Indictment?

22                MR. NEWMAN:      We have, Your Honor.

23                THE COURT:      Do you have any reason why

24    Mr. Riley should not waive Indictment?

25                MR. NEWMAN:      No, Your Honor.
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 1                THE COURT:      Are you satisfied that the waiver

 2    is knowingly, voluntarily, and intelligently made?

 3                MR. NEWMAN:      Yes, Your Honor.

 4                THE COURT:      And do you concur in the waiver.

 5                MR. NEWMAN:      Yes, Your Honor.

 6                THE COURT:      I would also note that I have a

 7    waiver of Indictment before me.

 8                Do you have a copy of this?

 9                MR. NEWMAN:      No, Your Honor, it was just

10    executed this morning.

11                THE COURT:      Okay.

12                MR. NEWMAN:      But we did see it.

13                THE COURT:      No problem.      I would ask the Clerk

14    to pass the waiver of Indictment to Mr. Riley, and I

15    would ask him if that's his signature.

16                      (Brief interruption.)

17                THE DEFENDANT:       Yes, ma'am.

18                THE COURT:      Thank you.     Did you read and

19    understand the waiver before you signed it?

20                THE DEFENDANT:       Yes, ma'am.

21                THE COURT:      Thank you.     In the case of

22    United States versus Kenneth Bernard Riley, Case

23    No. 07-1049(A), the Court finds that the Defendant,

24    Mr. Riley, is fully competent and aware of the nature of

25    his right to require that the Government proceed by way
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 1    of an Indictment.

 2                The Court further finds that the waiver is

 3    freely, intelligently, and voluntarily made, and the

 4    Court, therefore, accepts the waiver, and I will sign it

 5    and order that it be filed.

 6                With respect to the waiver of Indictment,

 7    anything further?

 8                MR. LULEJIAN:       No, Your Honor.

 9                MR. NEWMAN:      No, Your Honor.

10                THE COURT:      Thank you.     I'll give it to the

11    Clerk.

12                Again, I'd ask you, Mr. Riley, with respect to

13    the First Superseding Information, you have a right to

14    have it read to you.

15                Would you like me to read it to you again?

16                THE DEFENDANT:       No, ma'am.

17                THE COURT:      Do you give up that right?

18                THE DEFENDANT:       Yes, ma'am.

19                THE COURT:      You also have the following

20    constitutional rights that you will be giving up if you

21    plead guilty:       You have the right to plead not guilty to

22    any offense charged against you and to persist in that

23    plea.    You have the right to a speedy and a public

24    trial.     You have the right to a trial by jury.              At

25    trial, you would be presumed to be innocent, and the
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 1    Government would have to prove your guilt beyond a

 2    reasonable doubt.        If both you and the Government give

 3    up the right to a jury trial, you have the right to be

 4    tried by the Court.         You have the right to the

 5    assistance of counsel for your defense throughout the

 6    proceedings even if you do not enter into a plea

 7    agreement.      If you cannot afford counsel, the Court will

 8    appoint counsel for you free of charge to assist you at

 9    trial and at every other stage of the proceedings.                  You

10    have the right to confront and cross-examine the

11    witnesses against you, that is, to see and hear all the

12    witnesses and have them questioned by your attorney.

13    You have the right to have witnesses subpoenaed and

14    compelled to testify on your behalf.              You have the right

15    to testify yourself on your own behalf.               You have the

16    privilege against self-incrimination, that is, you have

17    the right not to testify or incriminate yourself in any

18    way.    If you went to trial and decided not to testify,

19    that fact could not be used against you.               By pleading

20    guilty, you are giving up that right and you are

21    incriminating yourself.          You have the right to appeal

22    your conviction and your sentence if you go to trial and

23    you are convicted.

24                Has your lawyer advised you of all of these

25    rights?
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 1                THE DEFENDANT:       Yes, ma'am.

 2                THE COURT:      Do you understand all of them?

 3                THE DEFENDANT:       Yes, ma'am.

 4                THE COURT:      Do you have any questions about any

 5    of them?

 6                THE DEFENDANT:       No, ma'am.

 7                THE COURT:      Do you need any more time to talk

 8    to your lawyer about your rights?

 9                THE DEFENDANT:       No, ma'am.

10                THE COURT:      Do you understand that, if your

11    plea is accepted, you will be incriminating yourself and

12    you will have waived or given up your right to a trial

13    and all the other rights I just described?

14                THE DEFENDANT:       Yes, ma'am.

15                THE COURT:      Do you give up those rights?

16                THE DEFENDANT:       Yes, ma'am.

17                THE COURT:      Mr. Newman, are you satisfied that

18    each of these waivers is knowingly, voluntarily, and

19    intelligently made?

20                MR. NEWMAN:      Yes, Your Honor.

21                THE COURT:      And do you join and concur in each

22    of the waivers?

23                MR. NEWMAN:      I do concur, Your Honor.

24                THE COURT:      Mr. Riley, as I told you, you're

25    charged in the First Superseding Information with a
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 1    violation of Title 21, United States Code, Section 841,

 2    Subpart (a)(1) and Subpart (b)(1)(B), triple I,

 3    distribution of cocaine base in the form of crack

 4    cocaine.     This is a felony.

 5                Please listen carefully because I'm going to

 6    ask the Assistant U.S. Attorney, Mr. Lulejian to state

 7    the elements of the charge.

 8                MR. LULEJIAN:       Your Honor, the elements of this

 9    charge are as follows:          First, the Defendant knowingly

10    delivered cocaine base; second, the Defendant knew that

11    it was cocaine base or some other prohibited drug.

12                In addition, Your Honor, in order to invoke the

13    mandatory minimum set forth by Congress, the Government

14    would have to prove beyond a reasonable doubt that the

15    Defendant distributed at least 28 grams of a mixture or

16    substance containing a detectable amount of cocaine

17    base, and those elements are set forth in paragraphs 4

18    and 5 of the plea agreement.

19                THE COURT:      Thank you.

20                Mr. Riley, do you understand the nature of the

21    charges?

22                THE DEFENDANT:       Yes, ma'am.

23                THE COURT:      Have you discussed the charges and

24    the elements of the charges with your lawyer?

25                THE DEFENDANT:       Yes, ma'am.
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 1                THE COURT:      Do you have any questions about the

 2    charges?

 3                THE DEFENDANT:       No, ma'am.

 4                THE COURT:      Have you been advised of the

 5    elements including the maximum penalties?

 6                THE DEFENDANT:       Yes, ma'am.

 7                THE COURT:      Please listen carefully because I'm

 8    going to ask Mr. Lulejian to state the penalties.

 9                MR. LULEJIAN:       The maximum penalties for this

10    crime are as follows, Your Honor:             40 years'

11    imprisonment; five years, which is mandatory; a lifetime

12    period of supervised release; a fine of $100 or twice

13    the gross gain or gross loss resulting from the offense,

14    whichever is greater; and a mandatory Special Assessment

15    of $100.

16                In addition, Your Honor, there is a mandatory

17    four-year period of supervised release in addition to

18    the five-year mandatory term of imprisonment.

19                THE COURT:      Thank you.     Can -- can you make

20    clear, Mr. Lulejian, are there any findings that the

21    Court will be asked to make that will increase the

22    statutory sentence or that could require a mandatory

23    minimum?

24                MR. LULEJIAN:       The statutory finding the Court

25    would have to make, Your Honor, is that the Defendant
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 1    distributed at least 28 grams of cocaine base.

 2                In addition, Your Honor, in this case, the

 3    Government has filed a Section 851 penalty enhancement.

 4    That would, certainly, increase the penalties.                 However,

 5    as part of the plea agreement, the Government has agreed

 6    to dismiss that -- move to dismiss that enhancement.                   So

 7    the penalty -- the maximum penalty would be 40 years if

 8    the Court accepts that, and the minimum penalty would

 9    be -- the least the Court could sentence would be a

10    mandatory minimum of five years' imprisonment.

11                THE COURT:      Thank you.     So am I correct that

12    the quantity of drugs will trigger a mandatory minimum?

13                MR. LULEJIAN:       Yes, Your Honor, if it is more

14    than 28 grams of a mixture or substance containing a

15    detectable amount of cocaine base.             So that triggers the

16    mandatory minimum.        It is less than the 280 grams set

17    forth in the revision by Congress to invoke the ten-year

18    mandatory minimum, though.

19                THE COURT:      Thank you.

20                Mr. Riley, do you understand that, if this case

21    went to trial, the Government would be required to prove

22    to the trier of fact beyond a reasonable doubt that the

23    quantity of drugs exceeded 28 grams of cocaine base?

24                THE DEFENDANT:       Yes, ma'am.

25                THE COURT:      In other words, you have a right to
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 1    have a jury determine the total amount of drugs as

 2    charged; do you understand?

 3                THE DEFENDANT:       Yes, ma'am.

 4                THE COURT:      Do you admit that the drug offense

 5    to which you are pleading involved a quantity of drugs

 6    in excess of 28 grams of cocaine base?

 7                THE DEFENDANT:       Yes, ma'am.

 8                THE COURT:      Do you waive or give up your right

 9    to have a jury determine the amount of drugs charged in

10    the First Superseding Information?

11                THE DEFENDANT:       Yes, ma'am.

12                THE COURT:      As the Prosecutor stated,

13    Mr. Riley, you may be subject to supervised release for

14    a number of years after you're released from prison.

15                Have you discussed with your lawyer and do you

16    understand supervised release?

17                THE DEFENDANT:       Yes, ma'am.

18                THE COURT:      Do you understand that, if you are

19    sent to prison and you are placed on supervised release

20    following imprisonment and you violate one or more of

21    the conditions of supervised release, you may be

22    returned to prison for all or part of the term of

23    supervised release?

24                THE DEFENDANT:       Yes, ma'am.

25                THE COURT:      Do you understand that, if you are
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 1    presently on parole, probation, or supervised release in

 2    another case, this plea alone may be the basis for

 3    revocation of that parole, probation, or supervised

 4    release and as a result you may be returned to prison on

 5    that other case if there is another case?

 6                THE DEFENDANT:       Yes, ma'am.

 7                THE COURT:      Do you understand that, if you are

 8    not a citizen of the United States, this plea may cause

 9    you to be deported or removed from the United States and

10    may result in denial of naturalization or citizenship,

11    denial of residency status and denial of amnesty?

12                THE DEFENDANT:       Yes, ma'am.

13                THE COURT:      You are pleading to a felony

14    offense.     If your plea is accepted, I will find you

15    guilty.     That may deprive you of valuable civil rights

16    such as the right to vote, the right to hold public

17    office, the right to serve on a jury, and the right to

18    possess a firearm of any kind; do you understand?

19                THE DEFENDANT:       Yes, ma'am.

20                THE COURT:      Do you also understand that you

21    will not -- you will not be eligible for assistance

22    under the state programs funded under the Social

23    Security Act or the Federal Food Stamp Act and will not

24    be eligible for federal food stamp program benefits?

25                THE DEFENDANT:       Yes, ma'am.
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                                                                                 22


 1                THE COURT:      Do you understand that any such

 2    benefits or assistance received by your family members

 3    will be reduced to reflect your ineligibility?

 4                THE DEFENDANT:       Yes, ma'am.

 5                THE COURT:      Do you understand that any federal

 6    sentence imposed cannot run concurrently with any state

 7    sentence that has not been imposed at the time of your

 8    sentencing on the federal crime?

 9                THE DEFENDANT:       Yes, ma'am.

10                THE COURT:      I would ask, Mr. Lulejian, is

11    forfeiture an issue here?

12                MR. LULEJIAN:       Not a forfeiture restitution,

13    Your Honor.

14                THE COURT:      Thank you.

15                Mr. Riley, do you understand the possible

16    consequences of your plea including the maximum sentence

17    you can receive, the mandatory minimum sentence, and the

18    other terms the Assistant U.S. Attorney and I have

19    described?

20                THE DEFENDANT:       Yes, ma'am.

21                THE COURT:      Do you understand that parole has

22    been abolished and that, if you are sentenced to prison,

23    you will not be released on parole?

24                THE DEFENDANT:       Yes, ma'am.

25                THE COURT:      Do you have -- do you have any
Case 2:07-cr-01049-VBF Document 194 Filed 03/12/13 Page 23 of 46 Page ID #:864
                                                                                 23


 1    questions regarding the potential sentence that you may

 2    receive if the Court accepts your plea of guilty?

 3                THE DEFENDANT:       No, ma'am.

 4                THE COURT:      Have you discussed the possible

 5    punishment, the facts of your case, and the possible

 6    defenses with your lawyer?

 7                THE DEFENDANT:       Yes, ma'am.

 8                THE COURT:      Have you understood everything that

 9    has been said so far?

10                THE DEFENDANT:       Yes, ma'am.

11                THE COURT:      Is there any reason I should not

12    continue with these proceedings and take your plea

13    today?

14                THE DEFENDANT:       No, ma'am.

15                THE COURT:      Mr. Riley, you'll be sentenced

16    under the Sentencing Reform Act of 1984.               The

17    United States Sentencing Commission has issued

18    guidelines that judges must consult and take into

19    account but are not required to follow in determining

20    the sentence in criminal cases.

21                In determining a sentence, the Court's

22    obligation is to calculate the applicable sentencing

23    guideline range and to consider that range and possible

24    departures under the sentencing guidelines as well as

25    other sentencing factors set forth in Title 18,
Case 2:07-cr-01049-VBF Document 194 Filed 03/12/13 Page 24 of 46 Page ID #:865
                                                                                 24


 1    United States Code, Section 3553(a).

 2                Have you and your lawyer talked about how the

 3    sentencing guidelines might be applied in your case?

 4                THE DEFENDANT:       Yes, ma'am.

 5                THE COURT:      Has your lawyer also explained to

 6    you how the various elements and factors will be used to

 7    determine your sentence?

 8                THE DEFENDANT:       Yes, ma'am.

 9                THE COURT:      Do you understand that neither the

10    Court nor your lawyer will be able to determine the

11    guideline range for your case until after a Presentence

12    Report has been prepared by the Probation Officer?

13                THE DEFENDANT:       Yes, ma'am.

14                THE COURT:      Do you understand that you and the

15    Government will have an opportunity to review the report

16    and challenge the reported facts and the guideline range

17    calculated by the Probation Officer and to suggest that

18    the Court consider other factors?

19                THE DEFENDANT:       Yes, ma'am.

20                THE COURT:      Do you understand that the sentence

21    imposed may be different from any estimate your lawyer

22    may have given you?

23                THE DEFENDANT:       Yes, ma'am.

24                THE COURT:      Do you also understand that, after

25    your guideline range has been calculated by the
Case 2:07-cr-01049-VBF Document 194 Filed 03/12/13 Page 25 of 46 Page ID #:866
                                                                                 25


 1    Probation Department, the Court has the authority to

 2    impose a sentence that is more severe or less severe

 3    than the sentence called for in the guidelines?

 4                THE DEFENDANT:       Yes, ma'am.

 5                THE COURT:      Do you understand that neither this

 6    uncertainty nor the disappointment you may feel over the

 7    guideline range for your case or the Court's essential

 8    sentence would be a basis to withdraw your plea?

 9                THE DEFENDANT:       Yes, ma'am.

10                THE COURT:      Mr. Riley, have you read the plea

11    agreement filed on August 4th, 2011?

12                THE DEFENDANT:       Yes, ma'am.

13                THE COURT:      I would direct your attention to

14    the plea agreement, page 15, line 14.

15                Is that your signature?

16                THE DEFENDANT:       Yes, ma'am.

17                THE COURT:      And did you sign on the date

18    stated, August 4th, 2011?

19                THE DEFENDANT:       Yes, ma'am.

20                THE COURT:      And I would also direct your

21    attention to the next page, page 16, line 23.

22                Is that your signature?

23                THE DEFENDANT:       Yes, ma'am.

24                THE COURT:      And did you sign on August 4th,

25    2011?
Case 2:07-cr-01049-VBF Document 194 Filed 03/12/13 Page 26 of 46 Page ID #:867
                                                                                 26


 1                THE DEFENDANT:         Yes, ma'am.

 2                MR. LULEJIAN:       Your Honor.

 3                THE COURT:      Yes.

 4                MR. LULEJIAN:       Just so the record is clear,

 5    would the Court inquire of Mr. Riley on the date that he

 6    signed that, that even though he was on medication, he

 7    understood what he was doing and that it was knowingly

 8    and voluntary?

 9                THE COURT:      Yes.

10                Mr. Riley, I would ask you, on the date you

11    signed the plea agreement, August 4th, 2011, were you on

12    any medication?

13                THE DEFENDANT:         Yes.

14                THE COURT:      Is that the same medication you've

15    described to us this morning, the --

16                THE DEFENDANT:         Oxycontin.

17                THE COURT:      Okay.

18                THE DEFENDANT:         Yes, ma'am.

19                THE COURT:      And do you know how you spell that?

20                THE DEFENDANT:         No.

21                THE COURT:      Okay.        Any other medications?

22                THE DEFENDANT:         No, ma'am.

23                THE COURT:      Did these medications -- oh, okay.

24    All right.      Did this medication, Oxycontin, or your

25    medical condition affect your ability to understand the
Case 2:07-cr-01049-VBF Document 194 Filed 03/12/13 Page 27 of 46 Page ID #:868
                                                                                 27


 1    plea agreement --

 2                THE DEFENDANT:       No, ma'am.

 3                THE COURT:      -- or the consequences of signing

 4    the plea agreement?

 5                THE DEFENDANT:       No, ma'am.

 6                THE COURT:      Mr. Lulejian, do you suggest any

 7    other inquiry?

 8                MR. LULEJIAN:       No, Your Honor.       I think the

 9    Court has been thorough.            Today's waiver -- today's

10    state of mind is what counts given Mr. Riley's history.

11    I just wanted to make sure that there was no issues that

12    come up potentially on appeal.

13                THE COURT:      Thank you.     Thank you.

14                MR. NEWMAN:      I just want to state for the

15    record, Your Honor, we reviewed this in depth on the 4th

16    of August in my presence, and Mr. Riley had full

17    presence of his -- his faculties, and I was satisfied

18    with his condition.         So --

19                THE COURT:      And, Mr. Newman, with respect to

20    Mr. Riley's condition today, his taking Oxycontin and

21    his having medical problems that you've described

22    previously, are you confident that he is capable of

23    understanding these proceedings and the consequences of

24    his plea?

25                MR. NEWMAN:      As the Court knows, Your Honor,
Case 2:07-cr-01049-VBF Document 194 Filed 03/12/13 Page 28 of 46 Page ID #:869
                                                                                 28


 1    I've been representing Mr. Riley for a long time now,

 2    and I'm fully aware of all Mr. Riley's medical

 3    conditions and his mental abilities and mental state,

 4    and I'm completely comfortable with the proceedings as

 5    they've gone on today.          I'm -- I'm confident that he

 6    understands the proceedings and he understands

 7    Your Honor's questions, and I'm satisfied with his

 8    responses to Your Honor's inquiry.

 9                THE COURT:      That's consistent with my

10    observations.

11                Mr. Riley, do you agree?

12                THE DEFENDANT:       Yes, ma'am.

13                THE COURT:      Thank you.

14                Mr. Riley, do you understand the terms of the

15    plea agreement?

16                THE DEFENDANT:       Yes, ma'am?

17                THE COURT:      Do you want any more time to

18    discuss it with your lawyer?

19                THE DEFENDANT:       No, ma'am.

20                THE COURT:      Do you understand that the Court is

21    not a party to the agreement and is not bound by its

22    terms?

23                THE DEFENDANT:       Yes, ma'am.

24                THE COURT:      Are the terms of the agreement the

25    entire understanding that you have with the Government?
Case 2:07-cr-01049-VBF Document 194 Filed 03/12/13 Page 29 of 46 Page ID #:870
                                                                                 29


 1                THE DEFENDANT:       Yes, ma'am.

 2                THE COURT:      Other than what is contained in the

 3    written plea agreement, has anyone made you any

 4    promises, representations, or guarantees of any kind in

 5    an effort it get you to plead guilty?

 6                THE DEFENDANT:       No, ma'am.

 7                THE COURT:      Other than what is contained in the

 8    written plea agreement and other than a general

 9    discussion of the guidelines sentencing range and other

10    sentencing factors, has anyone made you any promises of

11    leniency or a particular sentence or other inducement to

12    get you to plead guilty?

13                THE DEFENDANT:       No, ma'am.

14                THE COURT:      Has anyone told you the Court will

15    impose any specific sentence in the event your plea is

16    accepted?

17                THE DEFENDANT:       No, ma'am.

18                THE COURT:      Has any attempted in any way to

19    threaten you, a family member, or anyone close to you to

20    force you to plead guilty in this case?

21                THE DEFENDANT:       No, ma'am.

22                THE COURT:      Are you pleading guilty voluntarily

23    and of your own free will?

24                THE DEFENDANT:       Yes, ma'am.

25                THE COURT:      As part of the plea agreement, the
Case 2:07-cr-01049-VBF Document 194 Filed 03/12/13 Page 30 of 46 Page ID #:871
                                                                                 30


 1    Government has agreed to make certain recommendations

 2    concerning your sentence or the Offense Level to be used

 3    in fixing your sentence.

 4                Do you understand that these terms of the plea

 5    agreement are merely recommendations to the Court and

 6    that the Court can reject the recommendation and impose

 7    a sentence that is more severe than you may expect

 8    without allowing you to withdraw your plea?

 9                THE DEFENDANT:       Yes, ma'am.

10                THE COURT:      Do you understand, Mr. Riley, that

11    by entering into this plea agreement and entering a plea

12    of guilty, you will have given up or limited your right

13    to appeal or collaterally attack all or part of the

14    sentence?

15                THE DEFENDANT:       Yes, ma'am.

16                THE COURT:      I'll direct your attention to the

17    plea agreement pertaining to this issue on page 10,

18    paragraphs 19, 20, and 21.

19                Please listen carefully because I'm going to

20    ask Mr. Lulejian to read pertinent portions of these

21    provisions under title -- under the title "Waiver of

22    Appeal of Conviction and Waiver of Appeal and Collateral

23    Attack."

24                MR. LULEJIAN:       Yes, Your Honor.       For purposes

25    of Waiver of Appeal of Conviction in the plea agreement,
Case 2:07-cr-01049-VBF Document 194 Filed 03/12/13 Page 31 of 46 Page ID #:872
                                                                                 31


 1    paragraph 19, sets forth as follows:              The Defendant

 2    understands that, with the exception of an appeal based

 3    on a claim, the Defendant's guilty plea was involuntary.

 4    By pleading guilty, the Defendant is waiving and give up

 5    any right to appeal the Defendant's conviction on the

 6    offense to which the Defendant is pleading guilty.

 7                With respect to Waiver of Appeal and Collateral

 8    Attack set forth in paragraphs 20 and 21, the Defendant

 9    gives up the right to appeal all of the following:                  A,

10    the procedures and calculations used to determine and

11    impose any portion of the sentence; B, the term of

12    imprisonment imposed by the Court provided it is within

13    the statutes statutory maximum; C, the fine impose by

14    the Court provided it is within the statutory maximum;

15    D, the term of probation or supervised release imposed

16    by the Court provided it is within the statutory

17    maximum; and, E, any of the following conditions of

18    probation or supervised release imposed by the Court,

19    specifically, the standard conditions set forth in

20    General Orders 318, 01-05, and/or 05-02 of this Court,

21    the drug testing conditions mandated by Title 18,

22    United States Code, Section 3563(a)(5), and 3583(d), and

23    the alcohol and drug use conditions authorized by

24    Title 18, United States Code, Section 3563(b)(7).

25                The Defendant also gives up any right to bring
Case 2:07-cr-01049-VBF Document 194 Filed 03/12/13 Page 32 of 46 Page ID #:873
                                                                                 32


 1    a post-conviction collateral attack on the conviction or

 2    sentence except a post-conviction collateral attack

 3    based on a claim of ineffectiveness of counsel, a claim

 4    of newly discovered evidence, or an explicitly

 5    retroactive change in the applicable sentencing

 6    guidelines, sentencing statutes, or statutes of

 7    conviction.

 8                THE COURT:      Thank you.     Would you also read

 9    paragraph 22 on page 11.

10                MR. LULEJIAN:       Yes, Your Honor.       This agreement

11    does not affect in any way the right of the U.S.

12    Attorney's Office to appeal the sentence imposed by the

13    Court.

14                THE COURT:      Thank you.

15                Mr. Riley, did you discuss giving up your right

16    to appeal with your lawyer?

17                THE DEFENDANT:       Yes, ma'am.

18                THE COURT:      Based on that discussion and having

19    considered this issue, do you agree that you are giving

20    up your right to appeal on the terms and conditions set

21    forth in this plea agreement?

22                THE DEFENDANT:       Yes, ma'am.

23                THE COURT:      Mr. Newman, the plea agreement

24    indicates that it was signed by you and your client on

25    August 4th, 2011; is that correct?
Case 2:07-cr-01049-VBF Document 194 Filed 03/12/13 Page 33 of 46 Page ID #:874
                                                                                 33


 1                THE DEFENDANT:       That's correct, Your Honor.

 2                THE COURT:      Did your client sign the agreement

 3    in your presence?

 4                MR. NEWMAN:      He did, Your Honor.

 5                THE COURT:      Did you discuss the contents of the

 6    plea agreement with your client before he signed it?

 7                MR. NEWMAN:      Yes, Your Honor.

 8                THE COURT:      Does the plea agreement represent

 9    the entire agreement between your client and the

10    Government?

11                MR. NEWMAN:      It does, Your Honor.

12                THE COURT:      Referring to page 15, line 17, is

13    that your signature?

14                MR. NEWMAN:      It is, Your Honor.

15                THE COURT:      And referring to page 17, line 18,

16    is that your signature as well?

17                MR. NEWMAN:      It is, Your Honor.

18                THE COURT:      And did you sign on the date

19    stated, August 4th, 2011?

20                MR. NEWMAN:      I did, Your Honor.

21                THE COURT:      Did you review the facts of the

22    case and all the discovery provided by the Government?

23                MR. NEWMAN:      Yes, Your Honor.

24                THE COURT:      Did you review those facts and

25    discovery with your client?
Case 2:07-cr-01049-VBF Document 194 Filed 03/12/13 Page 34 of 46 Page ID #:875
                                                                                 34


 1                MR. NEWMAN:      I did, Your Honor.

 2                THE COURT:      Did you discuss with your client

 3    the potential defenses he might have?

 4                MR. NEWMAN:      Yes, Your Honor.

 5                THE COURT:      Have you advised your client

 6    concerning the legality or admissibility of any

 7    statements or confessions or other evidence the

 8    Government has against him?

 9                MR. NEWMAN:      I did, Your Honor.

10                THE COURT:      To the best of your knowledge, is

11    your client pleading guilty because of any illegally

12    obtained evidence in the possession of the Government?

13                MR. NEWMAN:      None that I'm aware of,

14    Your Honor.

15                THE COURT:      Did -- did you and your client

16    agree it was in his best interest to enter into this

17    plea?

18                MR. NEWMAN:      Yes, Your Honor.

19                THE COURT:      Is it your opinion that your client

20    is entering into this plea freely and voluntarily with a

21    full knowledge of the charges and the consequences of

22    the plea?

23                MR. NEWMAN:      Yes, Your Honor.

24                THE COURT:      Have there been any promises, help

25    representations, or guarantees made either to you or
Case 2:07-cr-01049-VBF Document 194 Filed 03/12/13 Page 35 of 46 Page ID #:876
                                                                                 35


 1    your client other than what is contained in the plea

 2    agreement?

 3                MR. NEWMAN:      None, Your Honor.

 4                THE COURT:      Other than what is contained in the

 5    written plea agreement and other than a general

 6    discussion of the sentencing guideline range and other

 7    sentencing considerations, have you given any indication

 8    to your client of what specific sentence the Court would

 9    impose in the event the Court accepts his plea of

10    guilty?

11                MR. NEWMAN:      No, Your Honor.

12                THE COURT:      Do you know of any reason why this

13    Court should not accept your client's plea?

14                MR. NEWMAN:      None, Your Honor.

15                THE COURT:      Do you join in the waiver of jury

16    trial and concur in the plea?

17                MR. NEWMAN:      I do join and concur, Your Honor.

18                THE COURT:      Mr. Lulejian, other than what has

19    been expressly contained in the written plea agreement,

20    has the Government made any promises, representations,

21    or guarantees either to the Defendant or to Defense

22    Counsel?

23                MR. LULEJIAN:       No, Your Honor, it has not.

24                THE COURT:      Does the Government waive jury

25    trial?
Case 2:07-cr-01049-VBF Document 194 Filed 03/12/13 Page 36 of 46 Page ID #:877
                                                                                 36


 1                MR. LULEJIAN:       Yes, the Government waives jury

 2    trial, Your Honor.

 3                THE COURT:      Okay.    Thank you.

 4                Mr. Riley, are you satisfied with the

 5    representation your lawyer has provided?

 6                THE DEFENDANT:       Yes, ma'am.

 7                THE COURT:      Have you told your lawyer

 8    everything you know about your case especially about any

 9    statements or confessions or other evidence you know

10    about that the Government has against you?

11                THE DEFENDANT:       Yes, ma'am.

12                THE COURT:      Do you believe that your lawyer has

13    fully considered any defense you may have to the

14    charges?

15                THE DEFENDANT:       Yes, ma'am.

16                THE COURT:      Do you believe he's fully advised

17    you concerning this matter?

18                THE DEFENDANT:       Yes, ma'am.

19                THE COURT:      Do you believe you have had enough

20    time to discuss this matter with your lawyer?

21                THE DEFENDANT:       Yes, ma'am.

22                THE COURT:      Do you believe you understand

23    everything that has happened here today and everything

24    that is said by the lawyers and by me?

25                THE DEFENDANT:       Yes, ma'am.
Case 2:07-cr-01049-VBF Document 194 Filed 03/12/13 Page 37 of 46 Page ID #:878
                                                                                 37


 1                THE COURT:      Do you believe you understand the

 2    consequences to you of this plea?

 3                THE DEFENDANT:       Yes, ma'am.

 4                THE COURT:      Do you believe you are competent to

 5    make the decision to plead guilty?

 6                THE DEFENDANT:       Yes, ma'am.

 7                THE COURT:      Do you know of any reason why this

 8    Court should not accept your plea of guilty?

 9                THE DEFENDANT:       No, ma'am.

10                THE COURT:      Do you understand, then, that all

11    that is left in your case, if I accept your plea of

12    guilty, is the imposition of sentence which may well

13    include imprisonment?

14                THE DEFENDANT:       Yes, ma'am.

15                THE COURT:      Having in mind all that we have

16    discussed regarding your plea of guilty, the rights you

17    will be giving up, and the maximum sentence you may

18    receive, do you still want to plead guilty?

19                THE DEFENDANT:       Yes, ma'am.

20                THE COURT:      Please listen carefully, Mr. Riley,

21    because I'm going to ask the Prosecutor to state the

22    facts the Government would be prepared to prove at

23    trial, and then I'm going to ask you some questions

24    about what the Prosecutor is about to say.

25                I'd also call your attention to the plea
Case 2:07-cr-01049-VBF Document 194 Filed 03/12/13 Page 38 of 46 Page ID #:879
                                                                                 38


 1    agreement, page 6 and 7, paragraph 12 and 13.

 2                MR. LULEJIAN:       Your Honor, if this case went to

 3    trial, the government would prove the following facts:

 4    On September 17th, 2005, the Defendant met with a

 5    confidential Government source and agreed to sell the

 6    source 9 ounces of cocaine base in the form of crack

 7    cocaine for $5,625.         The Defendant explained to the

 8    confidential source that the cocaine powder will cost

 9    $4,500 and the price of converting the cocaine powder

10    into crack cocaine was $125 per ounce, or $1,125 total.

11    The Defendant accepted an initial payment of $4,500 from

12    the confidential source, which the Defendant used to

13    obtain approximately 9 ounces of cocaine powder from his

14    co-Defendant.       The Defendant then converted the cocaine

15    powder into approximately 9 ounces of crack cocaine.

16    The Defendant then met with the confidential source,

17    then in exchange for the remaining $1,125, provided the

18    confidential source with approximately four -- I'm

19    sorry -- 248.5 grams of crack cocaine, which was hidden

20    in a Godiva chocolates box.

21                In addition, Your Honor, the Defendant

22    acknowledges that, for purposes of relevant conduct and

23    determining the sentence -- appropriate sentencing

24    guideline range, as set forth in paragraph 15, that, A,

25    on or about June 20th, 2005, within the Central District
Case 2:07-cr-01049-VBF Document 194 Filed 03/12/13 Page 39 of 46 Page ID #:880
                                                                                 39


 1    of California, the Defendant distributed approximately

 2    143.7 grams of a mixture and substance of cocaine crack

 3    cocaine; and, B, beginning on or about February 8, 2006,

 4    and continuing until or about February 9, 2006, within

 5    the Central District of California, and elsewhere, the

 6    Defendant, his co-defendant, and others conspired to

 7    possess with intent to distribute and to distribute

 8    approximately 8 ounces, that is, 226.8 grams of cocaine

 9    powder.

10                I should clarify that the co-Defendants are

11    different individuals.

12                And as a result of these admissions,

13    Your Honor, the parties agree -- and this is set forth

14    in paragraph 15, Footnote 1 on Paragraph 8 -- that for

15    purposes of determining the appropriate Offense Level in

16    the equivalency table set forth in Section 2D1.1 of the

17    United States Sentencing Guidelines, that the combined

18    drugs listed above are equivalent to 1,445.9 kilograms

19    of marijuana.

20                THE COURT:      Thank you.

21                Mr. Riley, do you understand what Mr. Lulejian

22    stated?

23                THE DEFENDANT:       Yes, ma'am.

24                THE COURT:      Is everything he said about you and

25    about your conduct and intent true and correct?
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                                                                                 40


 1                THE DEFENDANT:         Yes, ma'am.

 2                THE COURT:      Are you pleading guilty because you

 3    did the things charged in the Information to which you

 4    are pleading guilty?

 5                THE DEFENDANT:         Yes, ma'am.

 6                THE COURT:      Are you pleading guilty because you

 7    are guilty?

 8                THE DEFENDANT:         Yes, ma'am.

 9                THE COURT:      Is the Government satisfied with

10    the factual basis?

11                MR. LULEJIAN:       Yes, Your Honor, we are.

12                THE COURT:      Do counsel agree that the Court has

13    complied with the requirement of Rule 11?

14                MR. LULEJIAN:       Very much so, Your Honor.

15                MR. NEWMAN:      Yes, Your Honor.

16                THE COURT:      Then, Mr. Newman, if I may address

17    your client and take the plea?

18                MR. NEWMAN:      Yes, Your Honor.

19                THE COURT:      Mr. Kenneth Bernard Riley, in

20    Case No. CR 10-1049(A).

21                MR. LULEJIAN:       I'm sorry, Your Honor --

22                THE COURT:      Yes.

23                MR. LULEJIAN:       -- that should be -- I

24    apologize.      It should be CR 07-1049(A).

25                THE COURT:      I apologize.
Case 2:07-cr-01049-VBF Document 194 Filed 03/12/13 Page 41 of 46 Page ID #:882
                                                                                 41


 1                MR. LULEJIAN:       No, it was my fault because it's

 2    misspelled on the --

 3                THE COURT:      Plea agreement.

 4                MR. LULEJIAN:       -- plea agreement, and I

 5    probably misspelled it on the -- the waiver.                It is

 6    correct in the First Superseding Indictment.                I do

 7    apologize.

 8                THE COURT:      All right.     Do you see that,

 9    Mr. Newman?

10                MR. NEWMAN:      I do.    I was sort of wondering if

11    it was given a new number or something, but I do see in

12    the filing under the docket number that it's correct so

13    under 07 in the left corner.

14                THE COURT:      Correct; and in the First

15    Superseding --

16                MR. NEWMAN:      Information.

17                THE COURT:      -- Information, the number is

18    correct, 07-1049(A).

19                MR. NEWMAN:      I -- I would have no objection if

20    the Court would just interlineate 07 --

21                THE COURT:      All right.

22                MR. NEWMAN:      -- with 10.

23                THE COURT:      All right.     In the plea agreement,

24    I will do that.       Can you show the plea agreement to

25    Mr. Riley.
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                                                                                 42


 1                Mr. Riley, in the plea agreement, the first

 2    page, line 13, under the case number, it says 10 instead

 3    of 07.

 4                THE DEFENDANT:       Yes.

 5                THE COURT:      And your case was filed or

 6    commenced in 2007, not 2010.

 7                THE DEFENDANT:       Yes, ma'am.

 8                THE COURT:      Do you agree?

 9                THE DEFENDANT:       Yes, ma'am.

10                THE COURT:      And do you agree I could make the

11    change --

12                THE DEFENDANT:       Yes.

13                THE COURT:      -- on the plea agreement.

14                Any other changes?

15                THE DEFENDANT:       Yes, ma'am.

16                MR. LULEJIAN:       None, Your Honor.       I do

17    apologize.

18                MR. NEWMAN:      No further changes, Your Honor.

19                THE COURT:      Thank you.     Then I -- with respect

20    to the plea, Mr. Riley, I would state that in

21    Case No. 07-1049(a), the United States of America versus

22    Kenneth Bernard Riley, how do you plead to the

23    single-count Superseding Information?

24                THE DEFENDANT:       Guilty, ma'am.

25                THE COURT:      Okay.    Mr. Riley, I'm going to make
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 1    certain findings.        If you don't understand what I say or

 2    if you disagree with what I say or if you want to talk

 3    to your lawyer, please interrupt me right away or ask

 4    your lawyer to interrupt me.

 5                In the case of United States of America versus

 6    Kenneth Bernard Riley, Case No. 07-1049, the Court,

 7    having questioned the Defendant and his attorney on the

 8    offer of his plea of guilty to the single count of the

 9    First Superseding Information, a felony, the Defendant

10    and his attorney having advised the Court that they have

11    conferred concerning the offered plea of guilty and all

12    aspects of the charges against the Defendant and any

13    defenses he may have, and the Court having observed the

14    Defendant's intelligence, demeanor, and attitude while

15    answering questions, and the Court having observed that

16    the Defendant does not appear to be under the influence

17    of any medicine, drug, or other substance or factor that

18    might affect his actions or judgment in any manner, the

19    Court finds that the Defendant is fully competent and

20    capable of entering an informed plea and that he is

21    aware of the nature of the charges and the consequences

22    of the plea.

23                The Court further finds that the plea of guilty

24    is knowingly, voluntarily, and intelligently made with a

25    full understanding of the nature of the charges, the
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 1    consequences of the plea, and the Defendant's

 2    constitutional rights.

 3                The Court finds further that the plea is

 4    supported by an independent factual basis containing

 5    each of the essential elements of the offenses, and the

 6    Court, therefore, accepts the plea and orders that the

 7    plea be entered.

 8                Mr. Riley, a written presentence report will be

 9    prepared by the Probation Office to assist in

10    sentencing.      You'll be asked to provide information for

11    that report.       Your attorney may be present if you wish.

12    You and your attorney will be able to read the report

13    and file objections if you have any before the

14    sentencing hearing.         You and your attorney will be able

15    to speak on your behalf at the hearing.               I urge you to

16    continue to consult with your lawyer throughout this

17    process so that he can answer any questions you have.

18                I would refer the Defendant, Mr. Riley, to the

19    Probation Officer for a presentence report.

20                My Clerk indicates that counsel have conferred

21    and agreed that the following is -- is an appropriate

22    date for sentencing, November 21st, 2011, at 10:30 A.M.;

23    is that correct, Mr. Newman?

24                MR. NEWMAN:      That is correct, Your Honor.

25                THE COURT:      Mr. Lulejian?
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 1                MR. LULEJIAN:       Yes, Your Honor.

 2                THE COURT:      Is that date acceptable to you,

 3    Mr. Riley, as well, November 21st, 2011, 10:30, for

 4    sentencing in this Court?

 5                THE DEFENDANT:       Yes, ma'am.

 6                THE COURT:      All right.     Thank you.

 7                Anything else, Mr. Lulejian?

 8                MR. LULEJIAN:       Nothing further.       Thank you,

 9    Your Honor.

10                MR. NEWMAN:      Nothing further, Your Honor.

11                THE COURT:      Thank you.

12                THE DEFENDANT:       Thank you.

13                THE CLERK:      This Court is in recess.

14                      (Proceedings concluded at 10:35 P.M.)

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 1                            C E R T I F I C A T E

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 3                I hereby certify that, pursuant to Title 28,

 4    Section 753, United States Code, the foregoing is a true

 5    and correct transcript of the stenographically reported

 6    proceedings held in the above-entitled matter and that

 7    the transcript page format is in conformance with the

 8    regulations of the Judicial Conference of the

 9    United States.

10                Certified on March 11, 2013.

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14                                       /s/ Katherine M. Stride
                                         KATHERINE M. STRIDE, CSR, RPR
15                                       Official Court Reporter
                                         License No. 11773
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